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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x

LEONEL CALDERON, et al.,

                                Plaintiffs,          17 Civ. 6154        (HBP)

      -against-                                      OPINION
                                                     AND ORDER
CJS WHOLESALERS, et al.,

                                Defendants.

-----------------------------------x


               PITMAN, United States Magistrate Judge:


               This matter is before me on the parties'                joint

application to approve their settlement (Letter from Justin

Cilenti, Esq. to the undersigned, dated Dec. 6, 2018                     (Docket Item

("D. I.") 23 ("Cilenti Dec. Letter")).              All parties have consented

to my exercising plenary jurisdiction pursuant to 28 U.S.C.                      §

636 (c).

               Plaintiffs Leonel Calderon, Valentin Melendez and Edgar

Ladino allege that they were employed at various times as drivers

and delivery workers for CJS Wholesalers, which was owned and

operated by defendants              (Complaint, dated Aug. 15, 2017        (D.I. 1)

( "Compl. ")    CJ[<J[   18-20) .   Plaintiffs bring this action under the

Fair Labor Standards Act              ("FLSA"), 29 U.S.C.   §§   201 e t ~ - , and

the New York Labor Law ("NYLL"), claiming that defendants failed

to pay them minimum wage, overtime premium pay and spread-of-

hours pay throughout their employment (Compl.                ~   2).
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             Defendants deny plaintiffs' claims and dispute the

number of hours claimed by each plaintiff (Letter from Justin

Cilenti, Esq. to the undersigned, dated July 24, 2018             (D.I. 19

("Cilenti July Letter") at 3-4).           Defendants further maintain

that they have records that show the number of hours plaintiffs

worked and the wages they were paid (Cilenti July Letter at 3-4).

             The parties agreed to the material terms of a

settlement at a mediation session held on February 15, 2018.                  The

parties submitted their proposed settlement agreement for

judicial approval on July 24, 2018          (Settlement Agreement, annexed

to Cilenti July Letter as Ex. 1 (D.I. 19-1)).              However,   I was

unable to approve the settlement at that time because the parties

failed to specify (1) each plaintiff's share of the $60,000 total

settlement amount and (2) the amount of each plaintiff's claimed

damages    (Order, dated Nov. 16, 2018       (D.I. 22)).

             On December 6, 2018, the parties submitted the proposed

settlement agreement currently before me, claiming to have

revised it in accordance with my earlier Order (Revised

Settlement Agreement, annexed to Cilenti Dec. Letter as Ex. 1

( D. I. 2 3-1)   ("Settlement Agreement") ) .    Under the Settlement

Agreement, defendants agree to pay a total amount of $60,000

$15,391.44 to be paid to plaintiff Calderon, $12,436.12 to be

paid to plaintiff Melendez,       $11,841 to be paid to plaintiff

Ladino and $20,331.35 to be paid to plaintiffs' counsel as


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attorneys' fees and costs (Settlement Agreement at 2).                This

$60,000 is to be paid in sixteen monthly installments of $3,750

starting ten days after the Court's approval of the Settlement

Agreement (Settlement Agreement at 2).

               Plaintiffs' counsel also revised his letter to include

each plaintiff's claimed damages             (Cilenti Dec. Letter at 1).
                                                                1
Thus, based on the amount claimed by each plaintiff,                each

plaintiff's equitable pro rata share of the total damages claimed

and the share each plaintiff will receive under the Settlement

Agreement are as follows:

                                                                    Percentage
                                                                    Received
                              Amount              Pro Rata          Under the
Plaintiff                     Claimed             Share             Settlement

Leonel Calderon               $26,000             39%               39%

Valentin Melendez             $21,000             31%               31%

Edgar Ladino                  $20,000             30%               30%

Total                         $67,000


               Because each plaintiff receives his equitable pro rata

share from the $39,668.65 net settlement amount, the Settlement

Agreement distribution clearly "bear[s] a rational relationship

to the amount claimed by each plaintiff."               Flores v. Hill Country

Chicken, LLC, 16 Civ. 2916 (AT) (HBP), 2017 WL 3448018 at *l



      The amount claimed by each plaintiff includes unpaid wages,
        1

exclusive of liquidated damages (Cilenti Dec. Letter at 1).

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( S. D. N. Y. Aug. 11, 201 7)   (Pitman, M. J. ) .

             However, I am still unable to approve the Settlement

Agreement because it contains several impermissible provisions

including (1) an improper and overly broad non-disparagement

clause;    (2) an agreement by plaintiffs to not contact any of

defendants' employees at defendants' establishment;            (3) an

agreement by plaintiffs never to seek re-employment with

defendants and (4) an agreement by plaintiffs to never enter

defendants' establishment again (Settlement Agreement at 5-6)

These provisions are among the "greatest hits of various

provisions that have been struck down or questioned by various

courts within this Circuit" because they run directly afoul of

the remedial purposes of the FLSA.           Nieto v.   Izzo Constr. Corp.,

15 Civ. 6958     (RML), 2018 WL 2227989 at *2        (E.D.N.Y. May 14, 2018)

(internal quotations marks and citations omitted); see also Ortiz

v. My Belly's Playlist LLC, 283 F. Supp. 3d 125, 126 (S.D.N.Y.

2017)    (Pitman, M.J.); Olano v. Designs by RJR, 17 Civ. 5703

(WHP), 2017 WL 4460771 at *3         (S.D.N.Y. Oct. 6, 2017)    (Pauley,

D.J.).

             Courts in this Circuit have held that while "not all

non-disparagement clauses are per se objectionable, if the

provision would bar plaintiffs from making any negative statement

about the defendants, it must include a carve-out for truthful

statements about plaintiffs' experience litigating their case


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[because]   [o]therwise, such a provision contravenes the remedial

purpose of the [FLSA] and          . is not fair and reasonable."

Martinez v. Gulluoqlu LLC, 15 Civ. 2727        (PAE), 2016 WL 206474 at

*1-*2   (S.D.N.Y. Jan. 15, 2016)    (Engelmayer, D.J.); accord Howard

v. Don Coleman Advertising Agency Inc., 16 Civ. 5060           (JLC), 2017

WL 773695 at *2    (S.D.N.Y. Feb. 28, 2017)     (Cott, M.J.)    (striking

down a mutual non-disparagement clause that did not contain a

carve-out provision).     Because the Settlement Agreement's non-

disparagement clause states "[p]laintiffs agree that they will

not make any negative statement .           about [d]efendants, or

otherwise disparage [d]efendants, nor will they encourage others

to do so" without this required carve-out provision, this clause

is impermissible (Settlement Agreement at 5).

            Similarly, plaintiffs' agreement "not to contact

[d]efendants' employees at the Company's establishment" also runs

afoul of the remedial purposes of the FLSA because it essentially

amounts to an impermissible confidentiality clause.            See Howard

v. Don Coleman Advertising Agency Inc., supra, 2017 WL 773695 at

*l ("wage-and-hour settlements cannot be confidential, in form or

in substance"); Souza v.     65 St. Marks Bistro, 15 Civ. 327        (JLC),

2015 WL 7271747 at *4     (S.D.N.Y. Nov.   6, 2015)   (Cott, M.J.)

("[c]onfidentiality provisions in FLSA settlements are contrary

to public policy") .

            Finally, it is well established that clauses barring


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re-employment conflict with the FLSA's "primary remedial purpose:

to prevent abuses by unscrupulous employers, and remedy the

disparate bargaining power between employers and employees."
Cheeks v. Freeport Pancake House Inc., 79 F.3d 199, 207                           (2d Cir.

2015); see also Ortiz v. My Belly's Playlist LLC, supra, 283 F.

Supp. 3d at 126 (striking down a similar provision barring

plaintiffs from ever working, or applying to work, for defendants

because it was in direct conflict with FLSA's remedial purpose);

Baikin v. Leader Sheet Metal, Inc., 16 Civ. 8194                       (ER), 2017 WL

102 5 9 91 at * 1 ( S . D. N . Y . Mar . 13 , 2 0 1 7 )   (Ramos , D. J . )   ( same ) .

Thus, the provision barring plaintiffs from "seek[ing] employment

with [d]efendants after the execution of [the Settlement

Agreement]", and from "enter[ing] the [d]efendants' establishment

and/or premises under any circumstances" are improper (Settlement

Agreement at 6).

              Accordingly, within 30 days of this Order, the parties

are to submit a revised settlement agreement that corrects the

foregoing deficiencies.

Dated:        New York, New York
              January 23, 2019

                                                   SO ORDERED




                                                   HENRY PITMAN
                                                   United States Magistrate Judge



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Copies transmitted to:

All Counsel




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